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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                             ORDER

       Based on the parties’ Joint Status Report, Case No. 20-cv-3010, ECF No. 1042, and the

Status Conference held on September 6, 2024, the court orders the following with regard to further

proceedings in this matter:

       I.      Scheduling

               A.      Fact discovery shall commence on September 26, 2024.

               B.      Plaintiffs shall file their high-level framework of potential remedies by
                       October 8, 2024.

               C.      The parties shall file a Joint Status Report regarding the status of discovery
                       and preparation of Plaintiffs’ Proposed Final Judgment by October 21,
                       2024.
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      D.    A Status Conference is scheduled for October 24, 2024 at 11:00 AM via
            Zoom.

      E.    Plaintiffs shall file their Proposed Final Judgment and serve their initial
            witness list by November 20, 2024.

      F.    The parties shall file a Joint Status Report regarding the status of discovery
            and preparation of Defendant’s Proposed Final Judgment by November 22,
            2024.

      G.    A Status Conference is scheduled for November 25, 2024 at 11:00 AM
            via Zoom.

      H.    Defendant shall file its Proposed Final Judgment and serve its initial
            witness list by December 20, 2024.

      I.    The parties shall file a Joint Status Report regarding the status of discovery
            and preparation of their respective Revised Proposed Final Judgments by
            January 6, 2025.

      J.    A Status Conference is scheduled for January 9, 2025 at 11:00 AM via
            Zoom.

      K.    The parties shall file a Joint Status Report regarding the status of discovery
            and preparation of their respective Revised Proposed Final Judgments by
            February 7, 2025.

      L.    A Status Conference is scheduled for February 10, 2025 at 11:00 AM via
            Zoom.

      M.    Fact discovery shall conclude on February 28, 2025.

      N.    The parties shall exchange final witness lists and file their respective
            Revised Proposed Final Judgments, as well as a Joint Status Report
            regarding the status of expert discovery, by March 7, 2025.

      O.    A Status Conference is scheduled for March 10, 2025 at 11:00 AM via
            Zoom.

      P.    The parties shall serve any proponent expert reports and disclosures,
            consistent with Rule 26(a)(2), by March 14, 2025.

      Q.    The parties shall serve any rebuttal expert reports and disclosures,
            consistent with Rule 26(a)(2), by March 26, 2025.




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        R.     The parties shall exchange exhibit lists, and each party shall notify any non-
               party of (1) all documents produced by that non-party that are included in
               the party’s exhibit list and (2) all deposition excerpts of that non-party that
               have been designated by the party, by March 28, 2025.

        S.     The parties shall jointly file, and any non-party shall individually file, a
               position statement that specifies any objection(s) to the public disclosure of
               any documents or depositions designated by the parties, explains the basis
               for any such objection(s), and proposes redactions, where possible, by
               April 2, 2025. Any document filed with the intention of it being sealed
               must be accompanied by a motion to seal, pursuant to Local Civil Rule
               5.1(h).

        T.     The parties and any non-parties shall meet and confer regarding
               confidentiality designations by April 8, 2025.

        U.     Expert discovery shall conclude on April 9, 2025.

        V.     A Pre-Hearing Conference is scheduled for April 11, 2025 at 10:00 AM
               in Courtroom 10.

        W.     An Evidentiary Hearing is scheduled to begin on April 22, 2025 at
               9:30 AM in Courtroom 10, and end by May 2, 2025.

        X.     The parties’ post-hearing briefs shall be due two weeks after the conclusion
               of the Evidentiary Hearing.

 II.    Other Deadlines

        Additional deadlines for pre-hearing submissions and closing arguments shall be
        set at a future date.

 III.   Extensions of Time

        The parties may not extend by stipulation any of the deadlines set forth above.
        Instead, the parties must file a written motion requesting an extension of time. The
        motion must be filed at least three business days before the deadline the movant is
        seeking to extend. The motion must also state the basis for the extension; the
        effect, if any, that granting the motion will have on other deadlines; the number of
        previous extensions requested and granted to the moving party; and the opposing
        party’s position on the motion, including any reasons given for refusing to consent.
        See LCvR 7. Motions for extension of time are discouraged and will be granted
        only upon good cause shown.




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      IV.    Limits on Discovery

             If the parties wish to place any limitations on written discovery or fact witness
             depositions (including Rule 30(b)(6) depositions), the parties shall meet and
             confer by September 23, 2024, and file a joint discovery plan by September 24,
             2024 at 12:00 PM, which shall identify any areas of disagreement.

      V.     Discovery Disputes

             In the event that an emergency discovery dispute arises, the parties shall jointly
             email Chambers (mehta_chambers@dcd.uscourts.gov) and the Courtroom
             Deputy, Mr. Alexander Burton (alexander_burton@dcd.uscourts.gov), to request
             a teleconference with the court. The email must include a concise description of
             the issue(s) in dispute and an explanation of each party’s position. The parties
             may not file a discovery motion without leave of court.

             Any non-urgent discovery dispute shall be raised in the parties’ Joint Status
             Report.




Dated: September 18, 2024                                Amit P. Mehta
                                                   United States District Judge




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